                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

BONGO PRODUCTIONS, LLC,                             )
ROBERT BERNSTEIN, SANCTUARY                         )
PERFORMING ARTS, LLC AND                            )
KYE SAYERS,                                         )       Civil No. 3:21-cv-00490
                                                    )       Judge Trauger
       Plaintiff,                                   )
                                                    )
v.                                                  )
                                                    )
CARTER LAWRENCE, Tennessee State Fire               )
Marshal, in his official capacity, CHRISTOPHER      )
BAINBRIDGE, Director of Codes Enforcement,          )
in his official capacity, GLENN R. FUNK,            )
District Attorney General for the 20th Judicial     )
District, in his official capacity, and NEAL        )
PINKSTON, District Attorney General for the 11th    )
Judicial, in his official capacity,                 )
                                                    )
       Defendants.                                  )


                                            ORDER

        The initial case management conference scheduled on Monday, August 23, 2021 at 3:00

p.m. will be held in Judge Trauger’s courtroom. Lead counsel for each party shall participate in

the conference. All participants will be masked and socially distanced during the conference.

       It is so ORDERED.



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                                                    ALETA A. TRAUGER
                                                    U.S. District Judge




     Case 3:21-cv-00490 Document 25 Filed 08/17/21 Page 1 of 1 PageID #: 244
